            24-3296      (L)
             & 25-0119(Con)
                                       IN THE
              United States Court of Appeals
                           FOR THE SECOND CIRCUIT
                SANDRA YOUSEFZADEH, et al., NEWTON’S PHARMACY, INC.,
                                              Plaintiffs-Appellants,
                            GWEN THOMAS, RHONDA NITTO,
                                                Plaintiffs,
                                          v.
JOHNSON & JOHNSON CONSUMER INC., RB HEALTH (US) LLC, TARGET CORPORATION, BAYER
  HEALTHCARE, LLC, a Delaware limited liability corporation, WALMART INC., a Delaware
   corporation, CVS PHARMACY, INC., a Delaware corporation, WALGREEN CO., an Illinois
corporation, THE PROCTER & GAMBLE COMPANY, HALEON US HOLDINGS LLC, PUBLIX SUPER
      MARKETS, INC., AMAZON.COM, INC., AMAZON.COM SERVICES LLC, KENVUE, INC.,
 GLAXOSMITHKLINE LLC, RITE AID CORPORATION, ALBERTSONS COMPANIES, INC., COSTCO
                                 WHOLESALE CORP.,
                                                Defendants-Appellees,
                          (Caption Continued on Inside Cover)

            ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NEW YORK

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CO., PFIZER INC., PERRIGO COMPANY PLC, HELEN OF TROY LIMITED, DIERBERGS MARKETS, INC.,
 RECKITT BENCKISER PHARMACEUTICALS INC., THE KROGER CO., HARRIS TEETER, LLC, HARRIS
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

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                                                  :
                                                  : 23-MD-03089 (BMC)
                                                  :
   IN RE:                                         :
                                                  :
   ORAL PHENYLEPHRINE                             : United States Courthouse
   MARKETING AND SALES PRACTICES                  : Brooklyn, New York
   LITIGATION                                     :
                                                  :
                                                  : Monday, September 23, 2024
                                                  : 12:00 p.m.
                                                  :
                                                  :

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      TRANSCRIPT OF CIVIL CAUSE FOR STATUS CONFERENCE VIA VIDEO
                 BEFORE THE HONORABLE BRIAN M. COGAN
                    UNITED STATES DISTRICT JUDGE



                                A P P E A R A N C E S:


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Proceedings recorded by mechanical stenography; transcript produced by Computer-Aided Transcription.
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 1             (Video teleconference call initiated.)

 2             (Judge BRIAN M. COGAN is on the call.)

 3             THE COURT:    Okay.   Ms. Townsend, please call the

 4   case.

 5             THE COURTROOM DEPUTY:       Good morning.

 6             In Re: Oral Phenylephrine Marketing and Sales

 7   Practices Litigation.

 8             Please state the speakers that will be speaking

 9   during the oral argument.    Thank you.

10             MR. LONDON:     Good morning, Your Honor.

11             Michael London on behalf of the plaintiffs.    The

12   designated presenters for oral argument and to address any

13   questions by the Court, on behalf of the plaintiffs, will be

14   Michael Sacchet on screen on video and Jonathan Selbin who is

15   on screen and on video.

16             Thank you.

17             THE COURT:    Okay.

18             MR. SOUKUP:     Good morning, Your Honor.

19             This is Andrew Soukup on behalf of defendant

20   Procter & Gamble.

21             With the Court's permission, I will be prepared to

22   address why plaintiff's state law claims should be dismissed

23   on Federal preemption grounds, and Jay Lefkowitz who

24   represents Haleon will be prepared to address why the RICO

25   claims should be dismissed..



                             VB      OCR        CRR
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 1             THE COURT:    But that is what we are talking about

 2   here, right?    We are not just talking about, like, in one of

 3   the cases I read, Judge Cote's case, where you are further

 4   refining advice on the label.     Here, you're talking about

 5   negating the label.    You are wiping it out entirely.   The

 6   label says effective.    You are saying ineffective.

 7             MR. SACCHET:    Your Honor, I'll need to clarify that

 8   point.

 9             The final rule goes on to say, which again,

10   defendants make no mention of today, or in their papers,

11   quote, regardless of which alternative a manufacturer uses,

12   FDA regulations require, require, that OTC drug labeling be

13   clear and truthful in all respects, not false and misleading

14   in any particular.

15             That's what the FDA's interpretation of 330.1(c)(2).

16   And I understand that the Supreme Court's overruled Chevron

17   deference, but it has not overruled our deference, and this is

18   the FDA's own interpretation of § 330.1(c)(2).    That is what

19   it means s.    And that is what the FDA said it means in 1986.

20             THE COURT:    If that is true, then what is left of

21   express preemption?

22             MR. SACCHET:    This is a very unique circumstance,

23   Your Honor.    No case that defendants cite invoke §

24   330.1(c)(2).    To my knowledge, we're the only plaintiff that's

25   ever done so.   And 330.1(c)(2) is specific to indications.     It



                              VB      OCR        CRR
